            Case 1:23-cv-01615-CKK Document 66 Filed 04/15/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

                   Plaintiffs,
                                                        Civ. No. 1:23-01615 (CKK)
       v.

XAVIER BECERRA, U.S. Secretary of Health &
                                                        Plaintiffs’ Notice of Supplemental
Human Services, et al.
                                                        Authority
                   Defendants.


       Plaintiffs write to advise of the U.S. Supreme Court’s decision in Sheetz v. County of El

Dorado (Apr. 12, 2024) (Exh. A, “Op.”), which supports Plaintiffs’ claims under the Takings

Clause and related arguments under the “unconstitutional conditions” doctrine.

       To start, Sheetz reiterates the basic proposition that “[w]hen the government wants to take

private property,” it “must compensate the owner at fair market value.” Op. 4. And where the

government “interfere[s] with the owner’s right to exclude others,” that amounts to “a per se

taking.” Op. 4-5. Those “ordinary takings rules,” moreover, apply equally to “legislatures.” Op.

7. In this case, the Program interferes with manufacturers’ right to exclude others by compelling

them to provide Medicare with “access” to their covered drugs at the CMS-dictated discounts, on

pain of draconian penalties. See ECF No. 23-1 at 16-19; ECF No. 53 at 8-16.

       Sheetz also recounts that when the government conditions a benefit on the abandonment of

a property right, the Takings Clause requires a “sufficient connection” between the condition and

the legitimate interests that would have allowed the government to withhold the benefit. Op. 6.

That framework—which requires a “nexus” and “rough proportionality” between the condition

and the benefit—ensures that the government is “not leveraging its … monopoly to exact private

property without paying for it,” which would be an “abuse.” Id.
          Case 1:23-cv-01615-CKK Document 66 Filed 04/15/24 Page 2 of 2




       Here, Defendants are “leveraging” their monopsony in the prescription drug market to

coerce manufacturers to give up their property by threatening to withhold Medicare and Medicaid

coverage for all of the manufacturers’ products. Holding hostage all coverage for other drugs

violates both the “nexus” and “rough proportionality” tests. Op. 6 (stating that this “amounts to

‘an out-and-out plan of extortion’”). See ECF No. 23-1 at 45-48; ECF No. 53 at 28-30.

       Defendants have argued that the nexus and rough proportionality framework (the Nollan-

Dolan test) is limited to land-use conditions. ECF No. 24-1 at 33-34. But Sheetz explains that

Nollan-Dolan is “modeled on” and “rooted” in the “unconstitutional conditions doctrine”—the

general rule that the “government ‘may not deny a benefit to a person on a basis that infringes his

constitutionally protected interests.’” Op. 6, 9. As the Court emphasized, it has long applied that

same doctrine “in other contexts,” including “to scrutinize legislation that placed conditions on the

right to free speech.” Op. 10 (citing Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc.,

570 U.S. 205 (2013)). The doctrine thus applies here too: If the Program’s “access” mandate

“would be a compensable taking if imposed” directly, then imposing it as a condition on Medicare

coverage requires “application of Nollan/Dolan scrutiny.” Op. 1 (Sotomayor, J., concurring).



Dated: April 15, 2024                         Respectfully submitted,

                                              /s/ Yaakov M. Roth
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